
— Per Curiam.
Respondent, who was admitted to practice by this Court in 1995, was suspended by this Court’s order dated January 6, 2005 for failure to comply with the attorney registration requirements of Judiciary Law § 468-a (14 AD3d 788 [2005]).
Respondent now requests reinstatement on the ground that he has complied with the attorney registration requirements of Judiciary Law § 468-a and the Rules of the Chief Administrator of the Courts (see 22 NYCRR part 118). Petitioner does not object to respondent’s application.
Respondent’s application is granted and he is ordered reinstated, effective immediately.
Cardona, P.J., Mercure, Peters, Spain and Carpinello, JJ., concur. Ordered that respondent’s application is granted; and it is further ordered that respondent is reinstated as an attorney and counselor-at-law in the State of New York, effective immediately.
